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From: M.A. Marshall <mmarshall@lotxcorp.com>
Date: Mon, Jan 23, 2012 at 3:21 PM
Subject: Introduction
To: <                         >

            ,

I received an email from a mutual friend,             , introducing us and I wanted to
personally introduce myself. Based on what I know about you and           I realize you are a
very busy person and won’t take up too much of your time.

As           mentioned, I am a former special operations Marine and current Team Leader of a
counter-terrorism/anti-terrorism group for the U.S. Government. I also own Lot X Corporation
which specializes in high end training and protection operations for private sector individuals
and U.S. approved governments. Although I wear many hats, I handle all coordination and
facilitation within the protective operations section. We have 4 clients that are worth a
combined wealth of 100 billion+ and we specialize in this type of client.

I also do consultation for various industries and people who are considering adding a security
presence into their private lives. Based on what I’ve learned about you, with your worldly
travels, you may start to look into personal security at some level. I don’t necessarily mean a
full blown protection detail, but having a professional with you while you travel abroad is
something any successful person of wealth should consider. As unfortunate as it is to say, the
world is not getting any safer and the personal security of yourself or your family is not
something worth risking.

None of which I just said is a sales pitch of any kind.         is a solid guy and any friend of his
is a friend of mine and if there is anything I can do for you feel free to contact me anytime.
Honestly, I’d like to come out and spend a day giving you a personal firearms lesson so I can see
this underground pistol range you had constructed- sounds amazing!

Respectfully,

Matt Marshall

M.A. Marshall, CEO
Lot X Corporation
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From: M.A. Marshall <mmarshall@lotxcorp.com>
Date: Wed, Feb 1, 2012 at 4:14 PM
Subject: RE: Introduction
To:

        ,

No need to apologize for the response time on the email. Unfortunately, I am usually up to my
eyeballs with work emails as well, so I completely understand. I mentioned to            that I
had emailed you just in case it went to your junk mail folder. I certainly didn’t want you thinking
that I blew off       ’s introduction.

I understand that you have a SEAL team fellow helping keep an eye out for your safety at the
time, I just wanted to mention “protection” to you because most all of our clients and people I
have looked after don’t realize how much protection has changed and evolved over the years
into what I call a science. Don’t get me wrong, it’s not rocket science by any means, but it is an
entirely different animal than most people think. I’ve had clients embrace it and I’ve had clients
kick and scream the entire time until something happens and then we are best-friends for
life!! All that said, I’m here if you need input/advice on anything relating to that. My skill set
and connections I have from my other “job” help me significantly to get people to and from
safely.

I have spent some time the past couple of days looking over Proof Research and I am very
interested in the rifles and would like to see one in person. Looking is one thing but feeling the
weapon is what says it all to me. Very interesting concept and I have many people contact me
to provide feedback/input on their weapons and gear and I am always interested in picking and
choosing what looks like quality and this definitely looks of high quality. Let me know if you
would like me to do anything to help!

I am out in CA around the L.A. area at least once a month. I am a senior consultant for a firm
out there and they bring me out at the minimum of once a month so we could definitely link up
in that area or I could even make my way to the Bay area. And as far as the trip to Montana
goes, you name the time and I am there. I’d love to see the area, the range, and get to shoot
and enjoy being away from “work”. I am heading for Amman, Jordan on the 11th of this month
and will return March 8th, so anytime after that, when your schedule allows, let’s make a plan
to meet in person. Looking forward to it!

Best,

Matt
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From: M. Anthony Marshall <mmarshall@lotxcorp.com>
Date: Wed, Sep 12, 2012 at 1:37 PM
Subject: Touching Base
To:                           >

        ,

It's been quite some time since we've touched base and I wanted to reach out and see how
things are going on your end. I know your schedule is as brutal as mine, likely even worse. I was
still hoping we could sit down and talk about a few things and even possibly grab a few drinks
and do some shooting, not in that particular order though!! I know it's difficult for you to
forecast any down time but if you come up with a time in the next couple of months, let me
know and we can set something up.

I hope everything is going well in the business world, I'm sure you are keeping an eye on the
news and realize in my line of work things are more than crazy right now! Take care.

Best,

Matt Marshall

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